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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 Talia N. Harrison,                              §
                                                 §
        Plaintiff,                               §
                                                 §
 v.                                              §        Civil Action No. 4:21-cv-607-ALM
                                                 §
 Tyler Technologies, Inc.                        §
                                                 §
        Defendant.                               §

            [PROPOSED] ORDER GRANTING UNOPPOSED MOTION FOR
               LEAVE TO FILE BRIEF IN EXCESS OF PAGE LIMITS

       Before the Court is Plaintiff’s Unopposed Motion for Leave to File Brief in Excess of Page

Limits (the “Motion”). Having considered the Motion, and for good cause shown, the Court finds

that the Motion should be and hereby is GRANTED. The brief filed as Exhibit A to that Motion

is made part of the record and considered timely filed. Plaintiff need not refile the Reply brief.
